
PER CURIAM.
William Reeder seeks belated appeal from an amended sentence which was entered after he demonstrated to the trial court that he was entitled to relief under Heggs v. State, 759 So.2d 620 (Fla.2000). Petitioner has shown that he was not advised of his right to appeal at the time of resentencing, and we therefore grant the *268petition. Robinson v. Wainwright, 245 So.2d 867 (Fla.1971). Upon issuance of mandate in this cause, a copy of this opinion will be provided to the clerk of trial court to be treated as a notice of appeal. Fla. RApp. P. 9.141(c)(5)(D). The trial court is directed to consider whether Mr. Reeder may be entitled to appointment of counsel for the appeal. King v. State, 795 So.2d 1086 (Fla. 1st DCA 2001).
PETITION GRANTED,
BOOTH, WEBSTER and LEWIS, JJ., concur.
